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                 IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                            RICHMOND DIVISION

                                                         Chapter 11
 In re:
                                                         Case No. 15-32450 (KLP)
 PATRIOT COAL CORPORATION, et al.,
                                                         Jointly Administered
                    Debtors.


 BLACK DIAMOND COMMERCIAL FINANCE, LLC,

                    Plaintiff,

                    v.

 VIRGINIA CONSERVATION LEGACY FUND, INC. and
 ERP COMPLIANT FUELS, LLC,

                    Defendants.
                                                         Adv. Proc. No. 16-03105 (KLP)

 VIRGINIA CONSERVATION LEGACY FUND, INC. and
 ERP COMPLIANT FUELS, LLC,

                    Counterclaim-Plaintiffs,             REDACTED AND FILED
                                                         UNDER SEAL PURSUANT
                    v.                                   TO ECF DOC. NO. 64

 BLACK DIAMOND COMMERCIAL FINANCE, LLC,

                    Counterclaim-Defendant.



 ______________________________________________________________________________

    VCLF’S MEMORANDUM OF LAW IN OPPOSITION TO BLACK DIAMOND’S
                 MOTION FOR PARTIAL SUMMARY JUDGMENT
 ______________________________________________________________________________
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           Virginia Conservation Legacy Fund, Inc. and ERP Compliant Fuels, LLC (collectively,

 “VCLF”) respectfully submit this Memorandum in Opposition to Black Diamond Commercial

 Finance, LLC’s (“Black Diamond”) Motion for Partial Summary Judgment (ECF Doc. No.

 209).1

                                      PRELIMINARY STATEMENT

           At oral argument on March 21, 2017, counsel for Black Diamond stated unequivocally

 that                                             REDACTED




                2
                    This assertion was the basis for Black Diamond’s motion to compel (which it

 subsequently withdrew) and its now-pending motion for sanctions. Indeed, at the deposition of

 Jason McCoy, the VCLF witness that Black Diamond apparently believes was “shopping” for

 alternative closing financing between September 21, 2015, and October 23, 2015, Black

 Diamond’s counsel utilized a total of 45 exhibits in an attempt to procure an admission to this

 effect. But Black Diamond was unable to procure any evidence from Mr. McCoy or any other

 witness supporting its contention, and to this day, it has adduced no evidence that VCLF

 breached the non-solicitation provision of the Commitment Letter—because it did not.

           Now, astonishingly, after eleven depositions in this case, Black Diamond comes before

 this Court and has the temerity to argue that the case can be resolved in its favor without

 resolving the very issue that Black Diamond claimed was at the heart of this case. If nothing


 1
     Black Diamond’s supporting memorandum of law is referred to herein as “BD Mem.”
 2
     See Declaration of William M. Sullivan, Jr. in Support of VCLF’s Opposition to Black Diamond’s Motion for
     Partial Summary Judgment (“Sullivan Declaration” or “Sullivan Dec.”), Ex. A (3/21/17 Hearing Tr. 4:1-15).

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 else, Black Diamond’s motion practice in this adversary proceeding is a startling picture of

 inconsistency and unfocused litigation tactics. If it is something else, it is evidence of a pattern

 by Black Diamond: making something unequivocally clear (like repudiating the Commitment

 Letter) and then ignoring that fact by subsequent conduct (like commencing this lawsuit).

           Black Diamond’s present motion for partial summary judgment is without merit and

 should be denied. The documentary evidence and the testimony developed at depositions

 establish conclusively that (1) Black Diamond repudiated the Commitment Letter by October 23,

 2015, by demanding that VCLF agree to material changes to the Commitment Letter, on a take-

 it-or-leave-it basis, and (2) VCLF’s subsequent conduct did not violate the Exclusivity provision

 of the Commitment Letter because Black Diamond had already repudiated. This evidence does

 not merely raise an issue of material fact sufficient to require denial of Black Diamond’s

 summary judgment motion; rather, it requires granting summary judgment on these issues in

 VCLF’s favor, pursuant to VCLF’s initial motion for partial summary judgment (ECF Doc. No.

 132).3

                                                      FACTS

           A.       Black Diamond’s Familiarity with the Patriot Assets and Involvement in the
                    Patriot Chapter 11 Proceeding

                                                    REDACTED




 3
     VCLF incorporates herein by reference its papers in support of its own motion for partial summary judgment, as
     well as its Statement of Facts, Alleged by Black Diamond to be Material, as to Which VCLF Contends a Genuine
     Issue Exists, filed contemporaneously herewith.

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 Ehrlich Dep. Tr.4 46:22-54:3. Likewise,                                      REDACTED



                                               Id. 52:5-12.

            B.         The Commitment Letter

                                                       REDACTED

                                                                                                        See Murphy

 Dep. Tr.5 127:19-25.                                             REDACTED



                                                                           See Ehrlich Dep. Tr. 66:13-72:16.

                                                         REDACTED



                                                                                                           See Deckoff

 Dep. Tr.6 80:1-86:7; Sullivan Dec., Ex. E.                                   REDACTED



                 Id.




 4
     “Ehrlich Dep. Tr.” refers to excerpts of the transcript of the deposition of Black Diamond’s Richard Ehrlich, taken
      on October 17, 2017, attached to the Sullivan Declaration as Exhibit B. Though Mr. Ehrlich signed an errata
      sheet for his deposition transcript on January 11, 2018, that errata sheet was untimely under Fed. R. Civ. P. 30(e),
      applicable to these proceedings pursuant to Fed. R. Bankr. P. 7030, because the court reporter delivered the
      deposition transcript to the parties on November 1, 2017, more than 30 days prior to the submission of the errata
      sheet. Accordingly, Sullivan Dec., Ex. B does not include Mr. Ehrlich’s untimely errata sheet.
 5
     “Murphy Dep. Tr.” refers to excerpts of the transcript of the deposition of Brendan Murphy, formerly of Teneo,
      taken on October 19, 2015, with the witness’s errata sheet, attached to the Sullivan Declaration as Exhibit C.
 6
     “Deckoff Dep. Tr.” refers to excerpts of the transcript of the deposition of Black Diamond’s Stephen Deckoff,
      taken on October 31, 2017, attached to the Sullivan Declaration as Exhibit D. Though Mr. Deckoff signed an
      errata sheet for his deposition transcript on January 11, 2018, that errata sheet was untimely under Fed. R. Civ. P.
      30(e) because the court reporter delivered the deposition transcript to the parties on November 13, 2017, more
      than 30 days prior to the submission of the errata sheet. Accordingly, Sullivan Dec., Ex. D does not include Mr.
      Deckoff’s untimely errata sheet.

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                                                     REDACTED

           See Sullivan Dec., Ex. F (9/20/15 e-mail from R. Ehrlich to T. Clarke). REDACTED

 September 21, 2015, VCLF and Black Diamond’s loan origination entity, Black Diamond

 Commercial Finance, LLC (“BDCF”),7 signed the Commitment Letter                           REDACTED

                                  . Ehrlich Dep. Tr. 158:6-12. The signatory for VCLF was Thomas

 Clarke and the signatory for BDCF was Stephen Deckoff. See Declaration of C. William

 Phillips, dated Dec. 14, 2017 (“Phillips Dec.”), Ex. A (Commitment Letter).

                                                       REDACTED



                 See Ehrlich Dep. Tr. 104:2-14.                             REDACTED



                                                             See Clarke Dep. Tr.8 36:12-21. Ultimately,

 Blackhawk and VCLF were the winning bidders at the auction.

           C.       Black Diamond Fails to Provide VCLF Any Draft Loan Documentation

           Despite VCLF’s repeated requests, neither Black Diamond nor its lawyers ever presented

 VCLF with any draft loan documentation pursuant to the Commitment Letter. At his deposition,

 Mr. Clarke explained                                           REDACTED




 7
     This is distinguished from Black Diamond Commercial Management, LLC (“BDCM”).
 8
     “Clarke Dep. Tr.” refers to excerpts of the transcript of the deposition of VCLF’s Thomas Clarke, taken on
     November 10, 2017, together with the witness’s errata sheet, attached to the Sullivan Declaration as Exhibit G.

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                                          REDACTED



 Clarke Dep. Tr. 196:10-24.                             REDACTED

                                                                                   Id. 197:4-16.

                                        REDACTED

                                        (id. 198:4-200:5),           REDACTED



       .

           Black Diamond’s failure to provide any loan documentation (among other things) also

                                           REDACTED



                                           . See Clarke Dep. Tr. 34:5-36:21, 54:19-55:13, 76:7-12,

 115:7-10, 150:24-151:3.

           D.     Black Diamond Instructs VCLF to Obtain Additional Financing on the
                  Sidelines of the Patriot Confirmation Hearing

           The confirmation hearing in the Patriot chapter 11 case took place the week of October 5,

 2015. On the eve of the confirmation hearing, and with Black Diamond’s knowledge and

 blessing,                                REDACTED



                                             . See Clarke Dep. Tr. 12:4-14:20.   REDACTED




                                                             . See id. 170:3-20.




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           E.       Black Diamond is Involved in Changes to the VCLF-Patriot APA Between
                    September 21 and October 23, 2015

           Real-world developments following September 21, 2015, necessitated updates to the

 VCLF-Patriot APA, as executed on August 16, 2015. For example, Patriot informed VCLF that

                                                  REDACTED



                                                     . See Clarke Dep. Tr. 54:15-25, 63:2-64:14 (
                                                                                                  REDACTED




                                                               ); id. 209:14-210:16 (REDACTED

                                                        ); id. 175:6-25, 212:11-23 (REDACTED



                        ).9 In turn, Black Diamond itself                REDACTED

                                           . Id. 105:14-23.

           F.       On the Eve of the Scheduled Closing, Black Diamond Demands Material
                    Changes to the Commitment Letter

                                                   REDACTED

                         See Ehrlich Dep. Tr. 264:16-265:15. This was a practical necessity: As

 Patriot had advised the Court and stakeholders in the chapter 11, coal prices had fallen

 dramatically and Patriot was expecting to run out of cash just before the end of the month. See

 Clarke Dep. Tr. 100:24-103:9; Sullivan Dec., Ex. H (10/8/15 Confirmation Hr’g Tr. 69:18-

 70:12) (based on Patriot’s projections, “the company runs out of cash or goes negative cash in

 week 28, which is the week beginning October 24[, 2015]”); see also Sullivan Dec., Ex. I


 9
     See also Clarke Dep. Tr. 312:8-21 (                           REDACTED
                                                                                       ); id. 313:8-16
                                                                                                         REDAC




                   ); id. 317:24-319:6                         REDACTED
                                                          ).

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 (10/7/15 Confirmation Hr’g Tr. 106:9-10) (Marc Puntus of Centerview, representing Patriot: “I

 believe it is a matter of weeks before the debtors will run out of cash.”).

            Knowing this,                                      REDACTED




                 •   A reduction of the term loan amount from $10 million to $5 million, none of
                     which could be drawn at closing;

                 •   Replacement of the asset-based loan facility with a receivables purchase facility,
                                                             REDACTED
                                                                                                                        ,
                     rather than a 17% interest rate on amounts advanced under the terms of the
                     Commitment Letter;11

                 •   New financial covenants                           REDACTED
                        ,12 and that                                REDACTED



                                                                                       ;13


 10
      See Clarke Dep. Tr. 295:10-20                                    REDACTED
                                                                          .
 11
                                                      REDACTED

               See Clarke Dep. Tr. 71:5-10.                            REDACTED
                                  . See id. 187:14-188:3, 208:12-209:13.       REDACTED

                                                                    . See id. 53:10-56:11; 65:5-69:24.
 12
      See Gravenhorst Dep. Tr. 162:25-164:22                            REDACTED

                       . “Gravenhorst Dep. Tr.” refers to excerpts of the transcript of deposition of Black Diamond’s
      Hugo Gravenhorst, taken on October 10, 2017, attached to the Sullivan Declaration as Exhibit J. Though Mr.
      Gravenhorst signed an errata sheet for his deposition transcript on January 11, 2018, that errata sheet was
      untimely under Fed. R. Civ. P. 30(e) because the court reporter delivered the deposition transcript to the parties on
      October 23, 2017, more than 30 days prior to the submission of the errata sheet. Accordingly, Sullivan Dec., Ex. J
      does not include Mr. Gravenhorst’s untimely errata sheet.
 13
      See K. McCoy Dep. Tr. 173:7-176:19 (                              REDACTED
            ); Clarke Dep. Tr. 56:3-11                                 REDACTED


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                 •     A personal guarantee of 50% of Black Diamond’s projected internal rate of return
                       by Mr. Clarke; and

                 •     Limitations on the amounts VCLF could pay its professionals at closing.

                                                        REDACTED

                Mr. Clarke himself conducted a “back-of-the-envelope” modeling on the morning of

 October 23, 2015. See Phillips Dec., Exs. MM-NN. Based on this modeling, REDACTED



                                                                14
                                                                     See Clarke Dep. Tr. 55:7-13, 154:9-155:6,

 277:5-278:24, 280:11-283:15.

                                                   REDACTED

              on October 23, 2015, Mr. Ehrlich instructed Hugo Gravenhorst of BDCF—an

 individual who had no prior involvement with this transaction, and who had never before

 communicated with Mr. Clarke—to send Mr. Clarke a series of e-mails memorializing the

 “modif[ications]”15 that Black Diamond was demanding to the Commitment Letter (the

 “Gravenhorst E-mails”).16 See Phillips Dec., Exs. P -S (Gravenhorst E-mails, sent at 10:24 a.m.,



                  REDACTED                 ). “K. McCoy Dep. Tr.” refers to excerpts of the deposition of VCLF’s
      Kenneth McCoy, taken on October 26, 2017, with the witness’s errata sheet, attached to the Sullivan Declaration
      as Exhibit K.
 14
      Black Diamond points to                                   REDACTED
                                                                     See BD Mem. 11 (citing Phillips Dec., Ex. O).
                                                    REDACTED


                     Murphy Dep. Tr. 239:6-23.
 15
      To be clear, when the Gravenhorst E-mails state, “These new terms and conditions will modify our existing
      commitment letter dated September 21, 2015” (Phillips Dec., Exs. P-S), they are not using the term “modify” as
      Merriam-Webster defines it, “to make minor changes in.” Rather,                  REDACTED

                                                                See Ehrlich Dep. Tr. 293:6-20; see also id. 382:5-10
                                           REDACTED                                              ).
 16
      As of the time of Mr. Ehrlich’s deposition, and notwithstanding VCLF’s demand, Black Diamond was still
      withholding the six e-mails by which Mr. Ehrlich transmitted the text of the Gravenhorst E-mails to Mr.
      Gravenhorst, even though there is nothing privileged about them. See Sullivan Dec., Ex. L. Brazenly, Black
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 1:20 p.m., 2:04 p.m., and 2:18 p.m.). Following the transmission of each of these e-mails,
                                                                                                               REDACTE




                                                                                       17
                                                                                            See Clarke Dep. Tr.

 47:3-49:6, 56:12-58:25, 68:4-69:24, 74:4-77:19, 81:16-83:8, 142:9-144:25. REDACTED



                                                                                                                 See

 id. 285:17-288:11 (                                             REDACTED



                             ).

            At no point in                                       REDACTED



                                                                 . See Clarke Dep. Tr. 288:12-22. REDACTED




                                                                                                . See id. 295:10-

 297:10.




      Diamond waited to produce these e-mails until three days after Mr. Ehrlich’s deposition had passed, towards the
      end of the deposition of Black Diamond’s restructuring lawyer, Adam Harris. Black Diamond has agreed to the
      reopening of Mr. Ehrlich’s deposition so that he can be examined regarding these six e-mails, and the deposition
      has tentatively been scheduled for January 26, 2018. At Mr. Ehrlich’s reopened deposition, the issue of
      repudiation will likely be revisited, given the centrality of the six e-mails to that topic.
 17
      Mr. Clarke gave this testimony despite the fact that                    REDACTED

                         . See Clarke Dep. Tr. 5:25-6:7. Black Diamond’s counsel clearly believed that REDACTED
                                           , but Mr. Clarke gave truthful and complete testimony nonetheless.

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            G.       VCLF Attempts to Cobble Together a Closing with Patriot

            With Black Diamond’s refusal to perform under the Commitment Letter and Black

 Diamond’s clear statements that it would only do a deal incorporating the new terms in the

 Gravenhorst E-mails, VCLF’s representatives understood that Black Diamond had reneged on its

 signed financing commitment. Accordingly, beginning late in the day on October 23, 2015,

 VCLF consulted with Patriot, the UMWA, and other potential lenders to obtain replacement

 closing financing or consideration to consummate the VCLF-Patriot transaction. Mr. Clarke

 believed that                                         REDACTED




                       . See Clarke Dep. Tr. 95:7-96:7, 102:18-103:9.

            As a result of these discussions, VCLF extracted an additional $5 million loan from

 UMWA, as well as a purchase money note from Patriot for $6 million. With these last minute

 accommodations, VCLF was able to close with Patriot on October 27, 2015. In light of Black

 Diamond’s repudiation of the Commitment Letter, VCLF did not convey any equity interests to

 Black Diamond at the closing.18

            H.       VCLF Apprises Black Diamond of Its Breach and Offers It a Final Chance to
                     Perform

            In light of Black Diamond’s repudiation of the Commitment Letter on October 23, 2015,

 VCLF’s representatives temporarily ceased communications with Black Diamond. Black




 18
      As this Court is aware, VCLF                              REDACTED

                                                                              . See Clarke Dep. Tr. 218:11-223:24;
      K. McCoy Dep. Tr. 198:3-206:25; J. McCoy Dep. Tr. 233:22-235:14. “J. McCoy Dep. Tr.” refers to excerpts of
      the transcript of deposition of VCLF’s Jason McCoy, taken on November 2, 2017, with the witness’s errata sheet,
      attached to the Sullivan Declaration as Exhibit M.

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 Diamond,                                    REDACTED

                                                               . See Clarke Dep. Tr. 91:5-92:23.

 Among other things,                              REDACTED



                                           . See Murphy Dep. Tr. 362:17-25 REDACTED

                                .

        On Sunday, October 25, 2015, VCLF’s counsel, Patrick Potter, sent a letter to Black

 Diamond’s counsel, Adam Harris, recounting the ways that Black Diamond had repudiated the

 Commitment Letter. Although there was no doubt that Black Diamond had reneged, VCLF gave

 Black Diamond one last opportunity to change its mind and again agree to finance VCLF’s

 acquisition under the terms of the Commitment Letter. See Phillips Dec., Ex. EE, at BDCF-

 00077232 – 35. Mr. Harris’s response, that same day, confirmed that Black Diamond was not

 prepared to finance under the terms of the Commitment Letter, but rather was willing to proceed

 only on the basis of the terms set forth in the Gravenhorst E-mails: “Black Diamond is prepared

 to proceed with consummation of the financing for VCLF on the terms set forth in Mr.

 Gravenhorst’s emails to Mr. Clarke from Friday, October 23rd . . . .” Id., Ex. FF (emphasis

 added). Mr. Potter responded later that evening, noting that Mr. Harris had confirmed Black

 Diamond’s October 23, 2015, repudiation of its lending commitment. Id., Ex. GG. Though Mr.

 Harris further responded to Mr. Potter, at 11:34 p.m. on October 25, 2015, suggesting that Black

 Diamond might be willing to “document and consummate a financing transaction for VCLF

 based upon the terms of the September 21st Commitment Letter,” that so-called offer was

 illusory because it was conditioned on a return to the “Asset Purchase Agreement executed by

 VCLF and Patriot on August 16, 2015”—which Black Diamond knew was impossible, given all


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 of the developments that had occurred since then and changes to the transaction Black Diamond

 had endorsed and, in some cases, encouraged. See id., Ex. C. Indeed, Mr. Harris’s e-mail

 plainly made the point that Black Diamond, in fact, was only willing to lend on the terms

 “outlined in Mr. Gravenhorst’s emails to VCLF on Friday[, October 23, 2015].” Id.

         This lawsuit was commenced by Black Diamond the very next day.

                                             ARGUMENT

 I.      BLACK DIAMOND REPUDIATED THE COMMITMENT LETTER BY
         OCTOBER 23, 2015

         A.      Legal Standard

         Under New York law, anticipatory repudiation constitutes a breach of contract, “entitling

 the nonrepudiating party to recover damages for a total breach and excusing it from further

 performance.” SPI Commc’ns v. WTZA-TV Assoc. Ltd. P’ship, 229 A.D.2d 644, 645 (3d Dep’t

 1996) (citing Long Is. R. R. Co. v. Northville Indus. Corp., 41 N.Y.2d 455, 463-64 (1977))

 (emphasis added). Repudiation is assessed objectively; whether a party subjectively intended to

 repudiate is “irrelevant.” See DiFolco v. MSNBC Cable L.L.C., 831 F. Supp. 2d 634, 642

 (S.D.N.Y. 2011) (“The law is clear . . . that whether Plaintiff repudiated the contract is based on

 an objective, not a subjective, standard. . . . Plaintiff’s subjective intent is irrelevant.”). The

 communication of intent not to perform can be based on the repudiating party’s “words or

 deeds,” and must be unequivocal. Norcon Power Partners, L.P. v. Niagara Mohawk Power

 Corp., 92 N.Y.2d 458, 463 (1998).

         As relevant to this case, a party anticipatorily repudiates a contract by adopting a “take-it-

 or-leave-it” position by refusing to perform the contract unless the other party accepts new terms

 or an untenable construction of an essential term. See IBM Credit Fin. Corp. v. Mazda Motor

 Mfg. (USA) Corp., 92 N.Y.2d 989, 993 (1998) (plaintiff’s “insistence on an untenable

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 interpretation of a key contractual provision, and refusal to perform otherwise, constituted an

 anticipatory breach of the contract”); see also REA Express, Inc. v. Interway Corp., 538 F.2d

 953, 955 (2d Cir. 1976) (“Under New York law, insistence upon terms which are not contained

 in a contract constitutes an anticipatory repudiation thereof.”) (cited favorably in Kelly Capital,

 LLC v. S & M Brands, Inc., 873 F. Supp. 2d 659, 677 (E.D. Va. 2012) (applying New York

 law)). Anticipatory repudiation “can be grounded upon a finding that the other party . . . has

 communicated its intent to perform only upon the satisfaction of extracontractual conditions.”

 SPI Commc’ns, 229 A.D.2d at 645.19

            Repudiation can be established at the summary judgment stage by, among other things,

 showing that a counterparty demanded material changes to a preliminary agreement (such as a

 term sheet) on the eve of the closing of the definitive agreement. See Rhodes v. Davis, 628 F.

 App’x 787, 790 (2d Cir. 2015) (“Davis’s insistence on additional terms beyond those stated in

 the Stipulation or reasonably necessary to effect closing constituted an anticipatory breach”). In

 a strikingly similar case, the Rhodes Court held that one party repudiated a preliminary

 stipulation by presenting to the counterparty, the day before the closing deadline, a 12-page draft

 definitive agreement whose terms were at odds with the stipulation, including by requiring the

 counterparty to assume personal obligations not set forth in the stipulation:

                      The 12–page stock purchase agreement that Davis sent Rhodes the
                      day before the closing deadline contained several terms at odds
                      with the Stipulation, including, for example, substitution of new
                      entity ASI Services, Inc., for Davis himself as purchaser of
 19
      See also Mometal Structures, Inc. v. T.A. Ahern Contractors Corp., No. 09-CV-2791 (MKB), 2013 WL 764717,
      at *8 (S.D.N.Y. Feb. 28, 2013) (finding that plaintiff repudiated a subcontract by sending a letter stating it would
      not perform unless defendant “agreed to modify the terms of the Subcontract” to reflect seven substantial
      modifications, such as requiring the defendant to “pay the steel escalation costs and storage costs,” and to void a
      portion of the subcontract “pertaining to liquidated damages”); Israel Cancer Research Fund, Inc. v. Harvey &
      Gloria Kaylie Foundation, Inc., 33 Misc. 3d 1237(A), at *2 (Sup. Ct., N.Y. Cty. 2011) (holding, on a motion to
      dismiss, that allegations that defendant failed to make payments despite plaintiff’s repeated requests and that
      defendant had “explicitly taken the position that it will continue to withhold that funding unless [plaintiff] takes
      on obligations beyond those set forth in the [Agreements]” sufficiently supported claim for repudiation).

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                Rhodes’s shares, as well as that entity’s assumption of post-closing
                obligations (including liabilities) that the Stipulation specifically
                assigned to Davis individually. The agreement also required
                Rhodes to make representations and grant warranties not agreed to
                in the Stipulation, and to assume indemnification obligations for
                breach of representations in the purchase agreement. Further,
                while the purchase agreement represented that it constituted the
                entire agreement between the parties, it notably omitted a
                Stipulation provision requiring defendants to indemnify Rhodes for
                any post-January 1, 2008 liability. Meanwhile, a membership
                agreement that Davis sent Rhodes on the closing date further
                expanded Rhodes’s indemnification, non-disparagement, and
                warranty obligations beyond those agreed to in the Stipulation.

                ...

                On this record, we conclude as a matter of law that Rhodes
                satisfactorily demonstrated a breach by Davis, and Rhodes’s
                willingness and ability to perform his obligations when due under
                the Stipulation. Before the closing deadline passed, Davis
                unequivocally and positively repudiated the Stipulation by insisting
                on terms that were not agreed to in the Stipulation, and not
                necessary to effect the closing called for therein.

 Id. at 790-91 (emphasis added). The Court recognized that, “[w]hile the question of anticipatory

 breach is generally an issue of fact for the jury, where, as here, the relevant communications are

 in writing and unambiguous, the issue may be decided as a matter of law.” Id. at 790. The Court

 therefore affirmed the district court’s granting of summary judgment in favor of Rhodes (the

 non-repudiating party) based on the new terms insisted on by Davis. Id. at 793.

        Importantly, the cases cited by Black Diamond for the legal standard for repudiation are

 inapposite. They either do not involve repudiation via demand for material change of terms on a

 take-it-or-leave-it basis (a standard applied in New York, but not all U.S. jurisdictions), or else

 do not apply New York law at all. Notably, Black Diamond chose New York as the governing

 law for the Commitment Letter. See Phillips Dec., Ex. A (Commitment Letter), at BDCF-

 00028160 (“This Commitment Letter shall be governed by, and construed in accordance with,

 the laws of the State of New York.”).
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        B.      Black Diamond Refused to Finance Under the Terms of the Commitment
                Letter, Demanding Material Changes to the Commitment Letter at the
                Eleventh Hour on a Take-It-Or-Leave-It Basis

        Black Diamond here did to VCLF exactly what the repudiating party did in Rhodes: On

 the eve of the closing of the VCLF-Patriot APA, Black Diamond informed VCLF that the terms

 of the Commitment Letter were no longer operative, insisting on new, onerous, and materially

 different terms as conditions to financing the transaction.         REDACTED



                                                                      See Clarke Dep. Tr. 301:19-

 302:18. It would not lend on the previously agreed terms in the Commitment Letter. This is a

 hornbook instance of repudiation under New York law.

        As set forth above, the terms Black Diamond demanded in the Gravenhorst E-mails on

 October 23, 2015, were materially different from those in the Commitment Letter—to VCLF’s

 detriment. Specifically, on the eve of closing, Black Diamond conditioned its lending on:

 (1) reducing its commitment from $25 million to $20 million; (2) restructuring the financing

 from an asset-based loan to a receivables purchase facility such that VCLF would receive $0 at

 closing and only receive the first $2.5 million of needed working capital on December 2, 2015

 (more than a month after closing); (3) Mr. Clarke personally guarantying 50% of Black

 Diamond’s desired 44% internal rate of return; (4) imposing new financial covenants that Black

 Diamond’s witnesses confirmed are not typical, and that VCLF’s witnesses confirmed would put

 VCLF in default almost immediately, allowing Black Diamond to assume control over the

 Federal 2 Mine and control ERP Settlement, LLC, without having advanced any funds (or, at

 least, any substantial funds); and (5) limiting the amount VCLF could pay its restructuring




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 professionals’ fees to $2 million—even though Black Diamond knew those fees were much

 higher.20

            Black Diamond’s insistence on these terms was unequivocally on a take-it-or-leave-it

 basis. Throughout the day on October 23, 2015, Mr. Clarke repeatedly                  REDACTED



                                                           . See, e.g., Clarke Dep. Tr. 278:5-281:11 (Mr.

 Clarke explained                                            REDACTED

                                                                  ); id. 301:19-302:18 ( REDACTED




                                                                             ). But    REDACTED

                                                                                        Id. 47:3-49:6. As

 Mr. Clarke recounted:

                                                  REDACTED




 Id. 301:19-302:18 (emphasis added).                REDACTED            confirms that Black Diamond was

 unwilling to negotiate regarding the Gravenhorst E-mails, a fact confirmed two days later when


 20
      See Ehrlich Dep. Tr. 341:8-21; Clarke Dep. Tr. 48:22-49:3             REDACTED

                                                                                                     ).

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 Black Diamond’s counsel, Mr. Harris, wrote to VCLF that Black Diamond was only “prepared

 to proceed with consummation of the financing for VCLF on the terms set forth in Mr.

 Gravenhorst’s emails to Mr. Clarke from Friday, October 23rd.” Phillips Dec., Ex. C, at BDCF-

 00077292.

        The timing of the Gravenhorst E-mails also confirms that Black Diamond was

 strategically looking to “jam” VCLF with new, take-it-or-leave-it terms on the business day

 before the scheduled closing of the VCLF-Patriot transaction. As late as October 25, 2015,

                                        REDACTED

                  . Ehrlich Dep. Tr. 264:16-265:15; see also Clarke Dep. Tr. 100:24-103:9 (
                                                                                               REDACT




                                                 ).              REDACTED




       . See Clarke Dep. Tr. 109:8-110:16. Indeed, the Court was so advised of this fact at the

 confirmation hearing on October 8, 2015:

               [THE COURT:] You have no reason to believe that the
               company’s forecasts [which, among other things, showed Patriot
               running out of cash] are inaccurate?

               [ANDERS MAXWELL, representing the administrative agent for
               the Patriot term facility:] I am not challenging the company’s
               forecasts.

               Q. Okay. Can you take a look and just tell me when the company
               is going to run out of money, based on the company’s forecasts, if
               a plan is not confirmed?

               A. Your Honor, on page 14, I had summarized what is
               traditionally referred to as static pool analysis. It’s intended to
               show the thirteen-week rolling forecast going out over the – into
               the future, and we had used that to make some general objections.
               And based on these forecasts, which are no longer current – I
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                      gather there’s been at least one more recent forecast prepared,
                      which I have not reviewed, but based on these schedules on page
                      14 – again, these are not my projections; these are the company’s
                      projections – the company runs out of cash or goes negative cash
                      in week 28, which is the week beginning October 24[, 2015].

                      Q. And you can’t identify any other means that Patriot has to
                      address its liquidity crisis other than selling the company soon?

                      A. Well, conceptually, I can certainly think of other things one
                      could do, but I have no alternatives to offer the company, sitting
                      here today.

 Sullivan Dec., Ex. H, at 69:15-70:12 (emphasis added).21 Black Diamond knew this—its counsel

 appeared at that hearing telephonically (see id. at 3)—and intentionally waited until the very last

 minute to spring new terms on VCLF.

            That Black Diamond demanded changes to the Commitment Letter and accompanying

 term sheet to “memorialize” these new terms, rather than engaging in drafting and negotiation

 over loan documents themselves, confirms Black Diamond’s intent not to close on the terms of

 the Commitment Letter.                                           REDACTED

                                                                                   See Harris Dep. Tr.22 220:7-17

 (noting,                                               REDACTED



                                                                                                     ). The only

 logical inference is that Black Diamond refused to incur the expense necessary to produce and

 negotiate draft loan documents because it had decided that it was not lending to VCLF on the




 21
      See also supra at 6-7.
 22
      “Harris Dep. Tr.” refers to excerpts of the transcript of deposition of Adam Harris, taken on October 20, 2017,
      attached to the Sullivan Declaration as Exhibit N.

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 terms previously negotiated. And, here, VCLF                 REDACTED

                                      . See Clarke Dep. Tr. 99:10-16, 196:3-197:24.

         Black Diamond’s intent to force new, onerous terms on VCLF is also confirmed by the

 fact that                                REDACTED

                                                       . See Clarke Dep. Tr. 59:2-14, 75:7-17,

 137:18-138:23; Gravenhorst Dep. Tr. 141:18-20. Mr. Clarke testified that REDACTED




                                      . See Clarke Dep. Tr. 142:9-25. Indeed, REDACTED




                       Gravenhorst Dep. Tr. 260:3-16. There can be no doubt that Black

 Diamond used Mr. Gravenhorst for the specific purpose of conveying that Black Diamond

 intended to lend to VCLF only on the new and onerous terms contained in the Gravenhorst E-

 mails. Mr. Ehrlich, who had been one of Mr. Clarke’s main points of contact at Black Diamond,

                             REDACTED                                      (see Sullivan Dec., Ex.

 L), and could easily have sent the e-mails himself.

         Black Diamond’s attempt to rebut this conclusion by claiming after-the-fact that
                                                                                            REDACTE




                       . Mr. Ehrlich confirmed that                REDACTED



                          . See Ehrlich Dep. Tr. 113:2-114:16. Likewise, when VCLF’s counsel


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 pointed out to Mr. Deckoff that                       REDACTED

                                                                                                     he

 responded,       REDACTED               and conceded that           REDACTED

                                . See Deckoff Dep. Tr. 253:15-254:19. The evidence demonstrates

 that Mr. Gravenhorst’s participation was in no way required, but rather was exploited to push

 materially different terms on VCLF perceiving its back was to the wall.

        C.      Black Diamond’s Repudiation Was Positive and Unequivocal

        Repudiation is assessed objectively, and whether a party subjectively intended to

 repudiate is “irrelevant.” See DiFolco, 831 F. Supp. 2d at 641-43. As demonstrated above, the

 objective facts demonstrate that Black Diamond repudiated the Commitment Letter by October

 23, 2015: The Gravenhorst E-mails could not be more clear and unequivocal, and Mr. Harris’s

 confirmation on October 25, 2015, that Black Diamond would close only on the basis of the

 Gravenhorst E-mails, was equally clear and unequivocal.

        These objective facts are confirmed by the contemporaneous perceptions of VCLF’s

 representatives that Black Diamond was repudiating the Commitment Letter. Under New York

 law, the perception of the non-repudiating party of the repudiator’s conduct, in light of all the

 circumstances, is relevant to the objective assessment of whether a repudiation occurred. See BT

 Triple Crown Merger Co. v. Citigroup Global Mkts., Inc., 19 Misc. 3d 1129(A), at *5 (Sup. Ct.,

 N.Y. Cty. 2008) (holding, in a case dealing with alleged repudiation of a Commitment Letter by

 a party that demanded allegedly conflicting new terms, that “Barns’ and Brizius’ perception that

 the defendants were threatening them with non-performance, when coupled with the rather




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 ominous tone of the defendants’ internal emails,” could be sufficient to demonstrate that “the

 defendants presented the plaintiffs with an ultimatum”).23

            Here, VCLF’s witnesses all understood that Black Diamond’s transmission of the

 Gravenhorst E-mails was intended to be a repudiation of the Commitment Letter and an attempt

 to force new terms on VCLF at the last minute. Mr. Murphy of Teneo,                         REDACTED




 Murphy Dep. Tr. 247:10-20. Mr. Ken McCoy, for his part, testified                          REDACTED




                                                                                                    K. McCoy Dep.

 Tr. 119:6-10. As noted above, Mr. Clarke, who was interfacing directly with Black Diamond on

 October 22 and 23, 2015, likewise understood that                                REDACTED

                                                                                                           .




 23
      In this case, the court determined that there remained a disputed fact as to whether an ultimatum was given. See
      BT Triple Crown, 19 Misc. 3d 1129(A), at *5. In the present case, because we have (i) the statements of the
      repudiating party in writing (i.e., the Gravenhorst E-mails and Mr. Harris’s e-mails on the evening of October 25,
      2015, confirming that the Gravenhorst E-mails meant exactly what they said and reflected the new terms on which
      Black Diamond would lend), (ii) Mr. Ehrlich’s statements to Mr. Clarke that                 REDACTED
                                     , and (iii) the undisputed perception of the recipient (i.e., VCLF) that these
      statements were a repudiation, there is no genuine issue of material fact requiring a trial.

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        Black Diamond’s conduct also confirmed what                 REDACTED




                                           . See K. McCoy Dep. Tr. 141:22-142:7 (after

 receiving the Gravenhorst E-mails, Mr. McCoy and Mr. Clarke noted that they REDACTED




                                                           ); J. McCoy Dep. Tr. 134:23-137:21

                                         REDACTED




 Clarke Dep. Tr. 35:18-25                            REDACTED




                                                                                 . As Mr. Jason

 McCoy explained, with the sending of the Gravenhorst E-mails on October 23, 2015,
                                                                                      REDACTED




                            J. McCoy Dep. Tr. 157:9-158:22.

        The only evidence Black Diamond points to in support of its argument that VCLF did not

 truly believe that Black Diamond had repudiated is a selective misquotation of an e-mail VCLF’s

 counsel Patrick Potter sent Patriot’s counsel Ross Kwasteniet, on the evening of October 23,


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 2015. See BD Mem. 4 (discussing Phillips Dec., Ex. E). Black Diamond claims that, in that e-

 mail, Mr. Potter wrote:                                          REDACTED

                                                          See BD Mem. 4. BD misinterprets this sentence to

 mean that even Mr. Potter believed, as of 8:54 p.m. EDT on October 23, 2015, that the

 Commitment Letter transaction was still alive and being negotiated, and had not been repudiated

 by Black Diamond. Astonishingly, Black Diamond fails to quote the very next sentence of Mr.

 Potter’s e-mail, which makes clear that the “BD Deal” to which Mr. Potter referred was not the

 financing transaction embodied in the Commitment Letter, but rather the new, material, and

 onerous terms demanded by Black Diamond, on a take-it-or-leave-it basis, in the Gravenhorst E-

 mails:                                             REDACTED

 Phillips Dec., Ex. E (emphasis added). This sentence establishes, unambiguously, that Mr. Potter

 was referring to the terms demanded in the Gravenhorst E-mails, as the Commitment Letter

 terms did not provide for a personal guaranty. See Phillips Dec., Ex. A (Commitment Letter).

 And, if this were not clear enough, Mr. Potter confirmed this meaning at his deposition. See

 Potter Dep. Tr.24 230:6-231:23                                        REDACTED




                                                                                                           .

            D.        VCLF’s Attempts on October 23 and 25, 2015 to Persuade Black Diamond to
                      Change Its Mind Did Not Constitute a Waiver

            Black Diamond maintains that the letter VCLF’s counsel sent Black Diamond on

 October 25, 2015, which asked “Black Diamond [to] advise VCLF as to whether [it] intends to



 24
      “Potter Dep. Tr.” refers to excerpts of the transcript of deposition of VCLF’s counsel Patrick Potter, taken on
      October 16, 2017, with the witness’s errata sheet, attached to the Sullivan Declaration as Exhibit O.

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 close tomorrow under the BD Commitment (without modification),” is proof that Black

 Diamond did not repudiate the Commitment Letter because, “[h]ad Defendants believed that

 Black Diamond had repudiated the Commitment Letter on October 23, it would not have sought

 assurances that Black Diamond would perform on October 25.” BD Mem. 28. This statement is

 unsupported as a matter of fact and law because (1) VCLF’s counsel’s letter made clear that

 Black Diamond had repudiated, and (2) VCLF simply gave Black Diamond an opportunity to

 change its mind and provide the financing it had agreed to in the Commitment Letter.

        New York law is clear that a non-repudiating party’s attempts to persuade the repudiator

 to perform as originally agreed do not constitute a waiver of the breach. See In re Randall's

 Island Family Golf Centers, Inc., 261 B.R. 96, 101-02 (Bankr. S.D.N.Y. 2001), aff'd, 272 B.R.

 521 (S.D.N.Y. 2002) (“He may refuse, for a time, to acquiesce in the repudiation, and urge the

 repudiator to perform without waiving any of his rights.”) (internal citations omitted); Mindel v.

 Image Point Prods., Inc., 725 F. Supp. 189, 194 (S.D.N.Y. 1989) (“This effect of Mindel’s

 repudiation was not altered by Image Point's attempts to convince Mindel to change his mind,

 nor was it altered by Image Point’s proposal for amicable termination.”); AM Cosmetics, Inc. v.

 Solomon, 67 F. Supp. 2d 312, 318 (S.D.N.Y. 1999) (“However, a party’s reluctance to terminate

 a contract upon a breach and its attempts to encourage the breaching party to adhere to its

 obligations under the contract do not necessarily constitute a waiver of the innocent party’s rights

 in the future.”) (citing Seven-Up Bottling Co. (Bangkok), Ltd. v. PepsiCo, Inc., 686 F. Supp.

 1015, 1023 (S.D.N.Y. 1988)); Grp. 1 Auto., Inc. v. Country Imported Car Corp., No. 07-CV-

 1454 RRM WDW, 2012 WL 11955634, at *16 (E.D.N.Y. Aug. 15, 2012) (“Although plaintiff

 here attempted to help Country and IRL cure their defaults under the Amended Agreement and

 Promissory Note, those efforts do not go so far as to constitute a waiver of plaintiff's rights under


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 those agreements.”); AG Properties of Kingston, LLC v. Besicorp-Empire Dev. Co., LLC, 14

 A.D.3d 971, 971 (3d Dep’t 2005) (“[W]here a nonrepudiating party affords the repudiating party

 an opportunity to repent, but it does not do so, the nonrepudiating party's subsequent failure to

 perform is not a breach.”) (citing De Forest Radio Tel. & Tel. Co. v. Triangle Radio Supply Co.,

 243 N.Y. 283, 292-93 (1926)).

         VCLF twice urged Black Diamond to retract its repudiation, but Black Diamond failed to

 do so. First, as noted above, Mr. Clarke                     REDACTED



                                                                          . Clarke Dep. Tr. 286:6-

 288:11, 295:10-297:10, 301:19-302:18. Second, on Sunday, October 25, 2015, VCLF’s counsel

 formally described to Black Diamond all the ways that Black Diamond had repudiated the

 Commitment Letter, but nonetheless offered Black Diamond a final opportunity to finance under

 its terms:

                Black Diamond’s conduct permits no interpretation other than that
                it is anticipatorily breaching or otherwise repudiating the BD
                Commitment. Reducing the amount of funds, demanding a
                personal guarantee, and otherwise adversely changing the terms on
                which Black Diamond will proceed is not a modification of the BD
                Commitment that VCLF can or will accept. Black Diamond is
                proposing a fundamentally different (and materially worse for
                VCLF) financing, which is entirely inconsistent with the BD
                Commitment. Indeed, the lack of any meaningful legal work to
                prepare for Monday’s closing strongly suggests that Black
                Diamond concluded weeks ago not to proceed – I note that, as of
                the sending of this letter, Black Diamond and its counsel have not
                provided a single draft of any document, even though the closing is
                scheduled for tomorrow.

                Patriot has emphasized to VCLF that the VCLF transaction must
                close tomorrow, and has intimated that there may be damage
                claims against VCLF if VCLF does not close. And, while we
                contend that Black Diamond has anticipatorily breached or
                repudiated the BD Commitment (and in any event does not plan to
                perform thereunder), thus relieving VCLF of any obligation to
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                close, we hereby demand that Black Diamond advise VCLF as to
                whether Black Diamond intends to close tomorrow under the BD
                Commitment (without modification), and under the original form
                of APA acceptable to Patriot as modified during the course of the
                confirmation process and last Thursday’s negotiations (not the
                version tendered by Black Diamond to VCLF on Wednesday
                evening). . . .

 Phillips Dec., Ex. EE, at BDCF-00077234. Mr. Potter’s e-mail could not have been clearer that

 VCLF understood Black Diamond to have repudiated, but was giving Black Diamond a final

 chance to repent.

        This case could not be more different from Crosspoint Seven v. Mfs. Life Ins. Co., 148 F.

 App’x 535 (7th Cir. 2005), a case Black Diamond claims is “directly analogous” to the present

 one. See BD Mem. 24. Crosspoint is distinguishable from this case in at least four key ways.

        First, in Crosspoint, the court held that a party’s request to the other party to restructure

 an agreement to account for newly acquired information failed to amount to a repudiation. See

 148 F. App’x at 537-38. But here, as noted above, Black Diamond did not merely request that

 VCLF consider changes to the Commitment Letter: Black Diamond demanded that VCLF do so,

 on a take-it-or-leave-it basis, on the eve of the scheduled closing or there would be no funding.

 See Clarke Dep. Tr. 280:11-16. This was not the case in Crosspoint.

        Second, the party alleging repudiation in Crosspoint “continued to take actions necessary

 to close the deal” with the repudiating party, signaling that the non-repudiating party did not

 think that the other party had in fact repudiated. See 148 F. App’x at 358. For example, the

 party alleging repudiation “applied for no alternative financing, paid no other lender any fees,

 and entered into no additional contracts or agreements,” indicating that the party did not

 materially change its position in reliance on the repudiation. Id. Here, it is undisputed that, after

 Mr. Clarke had exhausted his efforts with Mr. Ehrlich on October 23, 2015, VCLF did just that:

 suddenly without financing to close on the deal with Patriot, it conferred with Patriot, the
                                                26
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 UMWA, and potential lenders beginning on the evening of October 23, 2015, in an effort to

 cobble together minimal financing to close on the VCLF-Patriot APA. VCLF had relied upon

 Black Diamond to close the deal, and—once Black Diamond repudiated—VCLF undertook

 stopgap efforts to accomplish the closing with Patriot.

            Third, despite Black Diamond’s desperate attempts to equate Mr. Potter’s October 25,

 2015 letter to Black Diamond with the “non-repudiating” party’s letter in Crosspoint merely

 requesting clarification of the counter-party’s intention, the two letters could not be more

 different. As noted above, Mr. Potter’s October 25th letter did not seek clarification of Black

 Diamond’s intent at all: it twice affirmatively stated that Black Diamond had repudiated the

 Commitment Letter no later than October 23, 2015, and, at most, “while [contending] Black

 Diamond has anticipatorily breached or repudiated the BD Commitment (and in any event does

 not plan to perform thereunder),”25 it offered Black Diamond a final opportunity to reverse

 course, to “repent.” See AG Properties, 14 A.D.3d at 971. Black Diamond’s characterization of

 Mr. Potter’s letter as a “request for clarification” (which influenced the Court in Crosspoint to

 conclude that even the non-repudiating party was unclear whether there had been a repudiation)

 is belied by the letter itself.

            Fourth and finally, the Crosspoint court applied the legal standard for repudiation

 developed under Indiana case law—a much more rigorous standard than the one under New

 York law.26 But even applying Indiana law, Black Diamond’s unilateral demand of new terms


 25
      Phillips Dec., Ex. EE, at BDCF-00077234.
 26
      See Jay Cty. Rural Elec. Membership Corp. v. Wabash Valley Power Ass’n, Inc., 692 N.E.2d 905, 911 (Ind. Ct.
      App. 1998) (“Repudiation of a contract must be positive, absolute, and unconditional in order that it may be
      treated as an anticipatory breach.”); Angelone v. Chang, 761 N.E.2d 426, 429 (Ind. Ct. App. 2001) (“[T]he
      requirement that the repudiating statement be clear and absolute is a strict one.”). For example, while the doctrine
      of implied repudiation does not appear to be well-defined or even accepted by the vast number of Indiana courts,
      New York courts broadly apply the doctrine. See Norcon, 92 N.Y.2d at 463; Heart Const. Corp. v. Gower, 6
      Misc. 3d 1018(A), 800 N.Y.S.2d 347 (Dist. Ct. Nassau Cty. 2004) (“[R]epudiation may be express or implied.”).

                                                             27
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 constituted repudiation. “The demanding of the other party a performance to which the party has

 no right under the contract constitutes [] an anticipatory breach.” Eden United, Inc. v. Short, 573

 N.E.2d 920, 929 (Ind. Ct. App. 1991) (party’s conduct at closing suggesting that it would only

 abide by its own interpretation of the agreement amounted to repudiation).

        Black Diamond also improperly relies on Inamed Corp. v. Kuzmak, 275 F. Supp. 2d 1100

 (C.D. Cal. 2002), for the proposition that a party’s threat to abandon a contract if the parties’

 dispute cannot be resolved does not amount to a repudiation. BD Mem. 21, n.31. Once again,

 Black Diamond relies on factually distinguishable case law, and in the process, mischaracterizes

 the appropriate legal standard.

        Inamed involved a disagreement between parties over the interpretation of a preliminary

 letter agreement and its legal consequences. More specifically, the parties had agreed to a

 preliminary letter agreement in January 2000 outlining terms of a settlement agreement;

 subsequently, in February 2000, one of the parties transmitted to the counter-party a “proposed

 draft of the Settlement Agreement.” 275 F. Supp. 2d at 1114. The counter-party then sent a

 letter in March 2000 identifying a few inconsistencies between the January 2000 letter agreement

 and the February 2000 draft settlement agreement, but significantly, “[n]owhere in the letter [did

 the party] state that his client [would] not settle the dispute on the terms outlined in the January []

 2000 letter agreement . . . .” Id. Additionally, “[n]owhere in the letter [did the party] state that

 his client . . . refuse[d] to continue negotiations regarding a formal settlement agreement.” Id.

        Here, Black Diamond’s communications with VCLF on October 23, 2015, had nothing to

 do with its interpretation of the Commitment Letter. It is undisputed that Black Diamond

 transmitted new terms to VCLF and not mere interpretations of the Commitment Letter; indeed,

 each one of the Gravenhorst E-mails pointedly stated, “These new terms and conditions will


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 modify our existing commitment letter dated September 21, 2015.” Phillips Dec., Exs. P-S

 (emphasis added). Not only that, but as Mr. Clarke testified,         REDACTED




                                      . See Clarke Dep. Tr. 58:10-25, 60:5-21, 138:7-23, 144:18-

 25, 148:3-11, 282:5-283:15, 292:4-8, 301:19-302:4. This situation therefore cannot be

 analogized to Inamed.

 II.    BLACK DIAMOND’S REPUDIATION IMMEDIATELY RELIEVED VCLF OF
        ITS OWN PERFORMANCE OBLIGATIONS UNDER THE COMMITMENT
        LETTER

        It is well-established under New York law that an anticipatory breach by one party to a

 contract excuses performance by a nonrepudiating counter-party. See Long Is. R. R. Co., 41

 N.Y.2d at 463 (“[R]epudiation entitles the nonrepudiating party to claim damages for total

 breach.”); Kain Dev., LLC v. Krause Properties, LLC, 130 A.D.3d 1229, 1232 (3d Dep’t 2015)

 (“Upon a showing of [] anticipatory repudiation, the nonrepudiating party is entitled to forgo

 further performance and to claim damages for total breach.”); QK Healthcare, Inc. v. InSource,

 Inc., 108 A.D.3d 56, 63 (2d Dep’t 2013) (“Under the doctrine of anticipatory repudiation, where

 one party repudiates its contractual obligations prior to the time designated for performance, the

 nonrepudiating party may immediately claim damages for total breach and be absolved from its

 obligations of future performance.”).

        Black Diamond’s repudiation of the Commitment Letter occurred no later than the

 afternoon of October 23, 2015, when                         REDACTED



                                                          . Under New York law, this repudiation

 immediately relieved VCLF of its own performance obligations under the Commitment Letter,
                                             29
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 including obligations in the “Exclusivity” section. See Clarke Dep. Tr. 52:3-7 ( REDACTED



                                           . In other words, once Black Diamond repudiated, VCLF was

 free to solicit alternative closing financing and it was no longer obligated to convey any equity

 interests to Black Diamond.

               It is undisputed that the solicitations of alternative financing identified in Black

 Diamond’s motion papers did not occur until after Black Diamond had demanded the terms in

 the Gravenhorst E-mails and confirmed that it would accept nothing less than those terms.27

 Likewise, VCLF did not re-allocate the equity interests in ERP Federal Mining Complex, LLC

 and ERP Settlement, LLC, until the closing of the VCLF-Patriot Transaction on October 27,

 2015. In either instance, VCLF’s actions were undertaken well after Black Diamond had already

 repudiated, and do not constitute a breach of the Commitment Letter.

                                                 CONCLUSION

               Black Diamond’s motion for partial summary judgment should be recognized for what it

 is—a bait-and-switch attempt quite similar to the one perpetrated by Black Diamond on VCLF

 on October 23, 2015. Notwithstanding Black Diamond’s eleventh-hour attempt to redefine the

 issues in this case, the evidence is decidedly against the determinations Black Diamond now asks

 this Court to make. Accordingly, VCLF respectfully submits that this Court deny Black




 27
      Black Diamond’s claim that UMWA’s loan to VCLF was a breach of the Commitment Letter is without basis for
      a separate reason:                                REDACTED


                                                                                  . See Clarke Dep. Tr. 12:4-
      14:20.                                   REDACTED                                        . See id. at 170:3-
      20.

                                                         30
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 Diamond’s motion for partial summary judgment and grant VCLF’s motion for partial summary

 judgment.

                                          Respectfully submitted,

 Dated: January 19, 2018                    /s/ Patrick J. Potter
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                                  CERTIFICATE OF SERVICE

        I hereby certify that, on January 19, 2018, I filed the foregoing Memorandum of Law in

 Opposition to Black Diamond’s Motion for Partial Summary Judgment by uploading it to this

 Court’s CM/ECF system, which will send notification of such filing to all CM/ECF participants,

 and that I served a copy on opposing counsel of record in this adversary proceeding by e-mail

 and Federal Express overnight.



                                                      /s/ Patrick J. Potter
                                                              Patrick J. Potter




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